            Case 8:18-cr-00463-PWG Document 32 Filed 11/18/19 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       )
                                               )
                   v.                          )       CRIMINAL NO. PWG-18-463
                                               )
MING ZHANG,                                    )
                                               )
                        Defendant.             )
                                               )

     UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF FORFEITURE

       The United States of America, by its attorney, Robert K. Hur, United States Attorney for

the District of Maryland, respectfully moves this Court for the issuance of a Preliminary Order of

Forfeiture in the above-captioned case pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853, 28

U.S.C. § 2461(c), and Rule 32.2(b) of the Federal Rules of Criminal Procedure. A proposed

Preliminary Order of Forfeiture is submitted herewith. In support thereof, the United States sets

forth the following:

       1.       On September 6, 2018, the United States of America filed an Information,

charging Ming Zhang (the “Defendant”) with Conspiracy to Transport Stolen Funds, in violation

of 18 U.S.C. § 371 (Count One). ECF No. 1.

       2.       The Information also included a forfeiture allegation, pursuant to 18 U.S.C. §

981(a)(1)(C), 21 U.S.C. § 853, 28 U.S.C. 2461(c), which provided notice that the United States

intended to seek the forfeiture, upon conviction of the Defendant, of the offense alleged in Count

One of the Information.

       3.       On October 11, 2018, the Defendant pled guilty to the offense alleged in Count

One of the Information. ECF. No. 6. As part of his guilty plea, the Defendant agreed to forfeit

to the United States all right, title and interest in the following items that the Defendant agreed




                                                   1
             Case 8:18-cr-00463-PWG Document 32 Filed 11/18/19 Page 2 of 4



constitute money, property, and/or assets derived from or obtained by the Defendant as a result

of, or used to facilitate the commission of, the Defendant’s offense: at least $1,000 in U.S.

currency in the form of a money judgment (the “Subject Property”).

        4.       Pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853, 28 U.S.C. § 2461(c), and

Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, the United States is now entitled to a

Preliminary Order of Forfeiture against the Subject Property.

        5.       Upon the issuance of a Preliminary Order of Forfeiture and pursuant to 21 U.S.C.

§ 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules of Criminal Procedure, the United States

shall publish, for thirty (30) consecutive calendar days on the government forfeiture website

www.forfeiture.gov, notice of the Preliminary Order of Forfeiture, notice of the United States’

intent to dispose of the Subject Property, and notice that any person, other than the Defendant,

having or claiming a legal interest in the Subject Property must file a petition with the Court

within sixty (60) days after the first day of publication on the government forfeiture website or

within thirty (30) days after receipt of actual notice, whichever is earlier.

        6.       This notice shall state that the petition shall be for a hearing to adjudicate the

validity of the petitioner’s alleged interest in Subject Property, shall be signed by the petitioner

under penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title or

interest in the forfeited Subject Property and any additional facts supporting the petitioner’s

claim and the relief sought.

        7.       The United States may also, to the extent practicable, provide direct written notice

to any person known to have alleged an interest in the Subject Property that are the subject of the

Preliminary Order of Forfeiture as a substitute for published notice as to those persons so

notified.




                                                    2
         Case 8:18-cr-00463-PWG Document 32 Filed 11/18/19 Page 3 of 4



       WHEREFORE, the United States requests that this Court:

       (a)    enter the Preliminary Order of Forfeiture in the form submitted herewith;

       (b)    include the forfeiture, as set forth in the Preliminary Order of Forfeiture, in the

oral pronouncement of the Defendant’s sentence;

       (c)    retain jurisdiction for the purpose of enforcing the forfeiture; and

       (d)    incorporate the Preliminary Order of Forfeiture in the criminal judgment entered

against the Defendant, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4).



                                                     Respectfully submitted,

                                                     ROBERT K. HUR
                                                     United States Attorney,

                                             By:     /s/
                                                     Erin B. Pulice
                                                     Molissa H. Farber
                                                     Assistant United States Attorneys




                                                3
         Case 8:18-cr-00463-PWG Document 32 Filed 11/18/19 Page 4 of 4



                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion for Preliminary Order of Forfeiture, as well as
the proposed Preliminary Order of Forfeiture, were filed through the Electronic Case Filing
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing.

                                                      /s/
                                                      Erin B. Pulice
Dated: November 18, 2019                              Assistant United States Attorney




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